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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA           :
                                    :
       v.                           :             Case No. 21-cr-00306
                                    :
 JON SCHAFFER,                      :
                                    :
       Defendant.                   :
____________________________________:

                                            ORDER

       Upon consideration of the United States’ motion to disclose items protected by Federal

Rule of Criminal Procedure 6(e) and sealed materials, it is hereby

       ORDERED, that the motion is GRANTED, and it is further

       ORDERED, that the United States may provide in discovery to the defendants in the cases

United States v. Stewart Rhodes, et. al. (22-cr-00015-APM), United States v. Donovan Crowl, (21-

cr-28-APM), and United States v. Jonathan Walden (21-cr-XXX-APM), materials related to the

above referenced-case protected by Federal Rule of Criminal Procedure 6(e), and it is further

       ORDERED, that the United States may provide in discovery to the defendants in United

States v. Stewart Rhodes, et. al. (22-cr-00015-APM), United States v. Donovan Crowl, (21-cr-28-

APM), and United States v. Jonathan Walden (21-cr-XXX-APM), pursuant to the protective order

that has so far been entered in governing discovery in 21-cr-28, sealed materials related to the

above referenced-case, and it is further

       ORDERED, that this Order also applies to the disclosure of the materials described above

to any co-defendants who may later be joined.
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Date:                              _____________________________________
                                   HONORABLE AMIT P. MEHTA
                                   United States District Judge
